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September 24, 2021

RE: Request for Accommodation for = | ees

Board of Directors, The Oaks IV Condominium Association
c/o Star Hospitality Management

26530 Mallard Way

Punta Gorda, FL 33950

To whom it may concern:

On behalf of J LR, who resides at 19505 Quesada Ave, Unit VV 102, Port
Charlotte, FL 33948, I request that Oaks ['V Condominium Inc. waive any restriction that would
prevent him from living with his dog for emotional support. As verification of my client’s
disability related need for an accommodation I am providing a letter from his Pediatrician Beverly
Anarumo. Her letter attests that J) LRM bas a disability and explains how living with
his dog assists him with his disability. Accordingly, Oaks [V Condominium Inc. has been provided
with the information to which a housing provider is entitled when considering a request for
accommodation of an emotional support animal.

I note that the Oaks IV Condominium Inc.’s “Medical Release and Request for Information Related
to Patient’s Request for Reasonable Accommodation” form seek extraneous information, which is
illegal. The willingness of a disabled resident’s health care provider to testify in court is wholly
irrelevant to whether he or she is entitled to a reasonable accommodation. Questions regarding
willingness to testify and the requirement for notarization have been interpreted by the Department
of Housing and Urban Development as an attempt at intimidation. I strongly encourage you to
amend the form to omit that question.

Given that Pediatrician Beverly Anarumo’s letter provides the legally required information to
document the need for an emotional support animal, my client will not be providing the “Medical
Release and Request for Information Related to Patient’s Request for Reasonable Accommodation”
form. Nonetheless, I look forward to prompt confirmation that J RT s need to reside
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with his emotional support animal will be accommodated for as long as he is a resident of Oaks IV
Condominium Inc.

Very truly yours,

/s/ Marcy LaHart

Marcy | LaHart, Esq.
